Case 19-50625-jwc          Doc 85     Filed 07/15/21 Entered 07/15/21 13:22:34         Desc Main
                                     Document      Page 1 of 12



                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


IN RE:                                             :          CASE NO. 19-50625-JWC
                                                   :
JANIS RILEY ALLEN,                                 :          CHAPTER 7
                                                   :
         Debtor.                                   :
                                                   :


 MOTION FOR ORDER AUTHORIZING COMPROMISE AND SETTLEMENT WITH
         DEBTOR UNDER RULE 9019 OF THE FEDERAL RULES OF
                    BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Janis Riley Allen (“Debtor”), by and through the undersigned

counsel, and files his Motion for Order Authorizing Compromise and Settlement with Debtor

under Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Settlement Motion”). In

support of the Settlement Motion, Trustee respectfully shows the Court as follows:

                                       Jurisdiction and Venue

         1.        This Court has jurisdiction over this Settlement Motion under 28 U.S.C. §§ 157

and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought herein is Rule 9019 of the Federal Rules of Bankruptcy

Procedure. This Settlement Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                             Background

         2.        On January 13, 2019 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 13 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as

amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy

Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating



16811066v1
Case 19-50625-jwc       Doc 85     Filed 07/15/21 Entered 07/15/21 13:22:34         Desc Main
                                  Document      Page 2 of 12



Chapter 7 Case No. 19-50625-JWC) (the “Bankruptcy Case” or “Case”).

        3.     On October 18, 2019, the Bankruptcy Case was converted to one under Chapter 7.

        4.     Trustee was thereafter appointed the duly acting Chapter 7 trustee in the

Bankruptcy Case, and he remains in this role.

        5.     Debtor’s mother and her uncle have passed. Prior to their deaths, and along with

her aunt, they each owned equal interests in that certain real property with a common address of

231 Belletta Drive, Canton, Georgia (the “Canton Property”). In addition, Debtor’s great

uncle, who is also deceased, owned another unimproved property located on Canton Street,

Cherokee County, Georgia (the “Cherokee County Property” and with the Canton Property,

the “Properties”).

        6.     Through her mother’s probate estate, Debtor is entitled to a share of the

Properties, or the sale proceeds arising from them.

        7.     Debtor’s inchoate interests in the Properties are property of the Bankruptcy

Estate. See 11 U.S.C. §§ 348 and 541 (2020).

        8.     Rather than Trustee’s attempting to force a sale of the Properties and seeking

distributions from the appropriate probate estates, Debtor would like to purchase the inchoate

interests in the Properties from the Bankruptcy Estate (the “Transfer Dispute”).

                                         The Settlement

        9.     Following negotiations, Trustee and Debtor (collectively, the “Parties”) have

reached an agreement to transfer the inchoate interests in the Properties to Debtor by Trustee’s

abandoning them back to Debtor following a payment by Debtor. In this regard, the Parties have

entered into a Settlement Agreement (the “Settlement Agreement”). Trustee attaches a copy of




                                                2
16811066v1
Case 19-50625-jwc      Doc 85     Filed 07/15/21 Entered 07/15/21 13:22:34          Desc Main
                                 Document      Page 3 of 12



the Settlement Agreement as Exhibit “A” to this Settlement Motion. Significant terms of the

Settlement Agreement are as follows:1

              a.     Within five (5) business days after the Settlement Approval Order2
                     becomes final, Debtor shall pay a total of $26,300.00 (the “$26,300.00
                     Settlement Funds”) in good funds to Trustee in exchange for Trustee’s
                     abandoning the interests in the Properties to Debtor.

              b.     The interests of the Bankruptcy Estate in and to the Properties shall be
                     deemed abandoned upon the later of: (a) Trustee’s receipt in full of the
                     $26,300.00 Settlement Funds from Debtor in good funds; or (b) the
                     Settlement Approval Order becoming final.

              c.     The Parties stipulate and agree that Debtor shall not have a claim under
                     Section 502(h) of the Bankruptcy Code in the Bankruptcy Case for or on
                     account of payment of the $26,300.00 Settlement Funds, or for any reason,
                     and that neither Debtor nor any of her affiliates, agents, principals, or
                     subsidiaries shall receive a distribution from the Bankruptcy Estate.

              d.     Effective upon the Settlement Approval Order becoming final, Debtor
                     shall waive any and all obligations that the Bankruptcy Estate may
                     otherwise have to pay to Debtor out of the $26,300.00 Settlement Funds
                     on account of exemptions asserted by or on behalf of Debtor, if any, in the
                     Properties, the inchoate interests in the Properties, or the $26,300.00
                     Settlement Funds.

                                        Relief Requested

        10.   By this Settlement Motion, Trustee requests that the Court approve the Settlement

Agreement between the Parties.

                                        Basis for Relief

        11.   Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or



1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.
2
       Capitalized terms not defined herein shall have the meanings ascribed to them in the
Settlement Agreement.

                                               3
16811066v1
Case 19-50625-jwc        Doc 85     Filed 07/15/21 Entered 07/15/21 13:22:34            Desc Main
                                   Document      Page 4 of 12



settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

        When a bankruptcy court decides whether to approve or disapprove a proposed
        settlement, it must consider:

        (a) The probability of success in the litigation; (b) the difficulties, if any, to be
        encountered in the matter of collection; (c) the complexity of the litigation
        involved, and the expense, inconvenience and delay necessarily attending it; (d)
        the paramount interest of the creditors and a proper deference to their reasonable
        views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).

        12.    The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues. In short, the proposed settlement will allow Trustee to make a meaningful

distribution to the holders of timely filed general unsecured claims in this Bankruptcy Case and

avoid the costs and risks of forcing a sale of the interests in the Properties and causing a

distribution from the respective probate estates.

        13.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Court approve the Settlement Agreement.




                                                    4
16811066v1
Case 19-50625-jwc       Doc 85     Filed 07/15/21 Entered 07/15/21 13:22:34            Desc Main
                                  Document      Page 5 of 12



        WHEREFORE, Trustee respectfully requests that the Court enter an Order (i) granting

this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to effectuate

the terms of the Settlement Agreement; and (iii) granting to the parties such other and further

relief as the Court deems just and appropriate.

        Respectfully submitted, this 15th day of July, 2021.

                                                      ARNALL GOLDEN GREGORY LLP
                                                      Attorneys for Trustee

                                                      By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                            Michael J. Bargar
Atlanta, GA 30363                                          Georgia Bar No. 645709
(404) 873-8500                                             michael.bargar@agg.com




                                                  5
16811066v1
Case 19-50625-jwc   Doc 85    Filed 07/15/21 Entered 07/15/21 13:22:34   Desc Main
                             Document      Page 6 of 12




                             EXHIBIT “A” FOLLOWS




16811066v1
Case 19-50625-jwc   Doc 85    Filed 07/15/21 Entered 07/15/21 13:22:34   Desc Main
                             Document      Page 7 of 12
Case 19-50625-jwc   Doc 85    Filed 07/15/21 Entered 07/15/21 13:22:34   Desc Main
                             Document      Page 8 of 12
Case 19-50625-jwc   Doc 85    Filed 07/15/21 Entered 07/15/21 13:22:34   Desc Main
                             Document      Page 9 of 12
Case 19-50625-jwc   Doc 85    Filed 07/15/21 Entered 07/15/21 13:22:34   Desc Main
                             Document      Page 10 of 12
Case 19-50625-jwc   Doc 85    Filed 07/15/21 Entered 07/15/21 13:22:34   Desc Main
                             Document      Page 11 of 12
Case 19-50625-jwc       Doc 85    Filed 07/15/21 Entered 07/15/21 13:22:34             Desc Main
                                 Document      Page 12 of 12




                                 CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Compromise and
Settlement with Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure by first
class United States mail on the following entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

Karmel Sunzette Davis
Karmel S. Davis & Associates
3379 Hwy 5, Ste A
Douglasville, GA 30135

Karmel Sunzette Davis
Karmel S. Davis & Associates
P. O. Box 5736
Douglasville, GA 30154

Janis Riley Allen
4600 Egret Court
Austell, GA 30106



        This 15th day of July, 2021.


                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709
                                                            michael.bargar@agg.com




16811066v1
